  Case 3:18-cv-00252-CWR-FKB Document 189 Filed 10/25/19 Page 1 of 20




                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF MISSISSIPPI
                          NORTHERN DIVISION

SECURITIES AND EXCHANGE                  No: 3:18-cv-252
COMMISSION,
                                         Carlton W. Reeves, District Judge
          Plaintiffs,

     v.

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC,

          Defendants.




                          RECEIVER’S REPORT

                             October 25, 2019




                                        /s/ Alysson Mills
                                 Alysson Mills, Miss. Bar No. 102861
                                 Fishman Haygood, LLP
                                 201 St. Charles Avenue, Suite 4600
                                 New Orleans, Louisiana 70170
                                 Telephone: 504-586-5253
                                 Fax: 504-586-5250
                                 amills@fishmanhaygood.com
                                 Receiver for Arthur Lamar Adams and
                                 Madison Timber Properties, LLC
     Case 3:18-cv-00252-CWR-FKB Document 189 Filed 10/25/19 Page 2 of 20




Introduction

        For many years Arthur Lamar Adams, through his companies Madison Timber Company,
Inc. and Madison Timber Properties, LLC, operated a Ponzi scheme that defrauded hundreds of
investors. On May 9, 2018, Adams pleaded guilty to the federal crime of wire fraud. On October
30, 2018, he was sentenced to 19.5 years in prison.

        On June 22, 2018, the Court appointed me Receiver of the estates of Adams and Madison
Timber. The order of appointment sets forth my responsibilities and duties. Among other things,
the order instructs me to take any action necessary and appropriate to preserve the assets of Adams
and his businesses, to maximize funds available for distributions to victims. I have undertaken
these tasks with substantial assistance from my counsel, including principally Brent Barriere and
Lilli Bass.

        The Court instructed me to file a report of my progress every 60 days. I filed my last report
on August 23, 2019, and this report picks up where that report left off. It does not repeat the same
information, except as necessary for context. It contains the following parts:

                                                                        page
                      Recent filings or events—criminal                   3
                      Recent filings or events—civil                      3
                      Receiver’s actions in the past 60 days              8
                      Receiver’s plan for the next 60 days                11
                      Receiver’s recommendation                           13
                      Summary of status of assets                         14
                      Proposed order                                      18


        As always, my reports are for the Court’s benefit, but I write them for a broader audience,
knowing that they may be read by non-lawyers including victims. I remain sensitive to potential
ongoing criminal investigations and do not disclose information that might impair their progress.




                                                                                                   2
        Case 3:18-cv-00252-CWR-FKB Document 189 Filed 10/25/19 Page 3 of 20




Recent filings or events—criminal

           United States v. Adams, No. 3:18-cr-88

           None.


           United States v. McHenry, No. 3:19-cr-20

           The U.S. Attorney’s Office for the Southern District of Mississippi charged Bill McHenry
with securities and commodities fraud and wire fraud earlier this year. His trial is set to commence
December 2, 2019.


Recent filings or events—civil

           Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-252

           Settlement—First National Bank of Clarksdale: On September 25, 2019, the Court
approved a settlement1 with First National Bank of Clarksdale (“FNBC”) whereby FNBC will
make a cash payment of $4,000,000 to the Receivership Estate and give the Receivership Estate a
60-day “tender period” within which it may satisfy Oxford Springs’s debt to FNBC, currently
$4,552,113, by making a lump sum payment of $4,000,000 to FNBC.

           The settlement agreement provides that FNBC shall make the $4,000,000 cash payment
after “expiration of all applicable appeal periods,” which is today. I expect the payment in the next
seven days and intend to exercise the tender right.

           Settlement—Patrick Sands: Relatedly, on October 9, 2019, the Court approved a
settlement2 whereby Patrick Sands agrees to convey to the Receivership Estate his 47.5% interest
in Oxford Springs and separately release the Receivership Estate of any claim by him to amounts
due under his outstanding Madison Timber promissory notes in exchange for the Receiver’s
obtaining from FNBC a release of his guarantees of FNBC’s loans to Oxford Springs.




1
    Doc. 183, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-252 (S.D. Miss.).
2
    Doc. 185, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-252 (S.D. Miss.).
                                                                                                   3
        Case 3:18-cv-00252-CWR-FKB Document 189 Filed 10/25/19 Page 4 of 20




           Together the FNBC and Patrick Sands settlements will result in the Receivership Estate’s
owning a 100% interest in Oxford Springs and retaining all the proceeds from the future sale of
Oxford Springs’s property.


           Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679

           The complaint against Mike Billings, Wayne Kelly, and Bill McHenry, filed October 1,
2018, alleged they received millions of dollars in “commissions” in exchange for their recruitment
of new investors to Madison Timber. Wayne Kelly and Mike Billings settled with the Receivership
Estate. I obtained a final judgment against Bill McHenry in the amount of $3,473,320.3


           Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866

           The complaint against Butler Snow LLP; Butler Snow Advisory Services, LLC; Matt
Thornton; Baker, Donelson, Bearman, Caldwell & Berkowitz, PC; Alexander Seawright, LLC;
Brent Alexander; and Jon Seawright, filed December 19, 2018, alleges the law firms and their
agents lent their influence, their professional expertise, and even their clients to Adams and
Madison Timber. None of the defendants has settled with the Receivership Estate.

           Butler Snow: The Butler Snow defendants filed a motion to dismiss in which they argued
that the case against them should be submitted to private arbitration. I responded, among other
things, that private arbitration is in no one’s interest, except Butler Snow’s.

           On September 12, 2019, the Court denied Butler Snow’s motion to dismiss,4 and on
October 4, 2019, Butler Snow appealed that ruling to the Fifth Circuit. The claims against Butler
Snow are stayed pending appeal. Butler Snow’s appellant’s brief is due December 2, 2019.

           Baker Donelson: Baker Donelson filed a motion to dismiss in which it argued, among other
things, that I lack standing to recover damages for investors. After I addressed Baker Donelson’s
motion’s arguments, it filed more briefs, each more forcefully making the same argument that I




3
    Docs. 62, 63, Alysson Mills vs. Michael D. Billings, et al., No. 3:18-cv-00679 (S.D. Miss).
4
    Doc. 48, Alysson Mills vs. Butler Snow, et al., No. 3:18-cv-00866 (S.D. Miss).
                                                                                                  4
        Case 3:18-cv-00252-CWR-FKB Document 189 Filed 10/25/19 Page 5 of 20




lack standing to recover damages for investors. Baker Donelson’s motion and related filings are
available at madisontimberreceiver.com.

           On October 1, 2019, the Court denied Baker Donelson’s motion, but the Court instructed
me to file an amended complaint, after which Baker Donelson may re-urge its arguments. The
Court stated:

           [T]he Receiver is entitled to present her “best case” before a dispositive ruling. So,
           if she wishes to add anything to the complaint that she learned in the last nine
           months, or wishes to amend any of her theories in light of recent Fifth Circuit
           decisions, now is the time. An amended complaint is due on November 1, 2019.
           Renewed motions to dismiss may follow within 14 days, or, given the upcoming
           holidays, on a briefing schedule agreed-to by the parties. 5

           Alexander Seawright: The Alexander Seawright defendants filed a motion to dismiss all
claims against them, which I opposed. The Alexander Seawright defendants’ motion and related
filings are available at madisontimberreceiver.com. Presumably they will re-urge their motion after
I file an amended complaint.


           Alysson Mills v. BankPlus, et al., No. 3:19-cv-196

           The complaint against BankPlus; BankPlus Wealth Management, LLC; Gee Gee Patridge,
Vice President and Chief Operations Officer of BankPlus; Stewart Patridge; Jason Cowgill; Martin
Murphree; Mutual of Omaha Insurance Company; and Mutual of Omaha Investor Services, Inc.,
filed March 20, 2019, alleges the financial institutions and their agents lent their influence, their
professional services, and even their customers to Madison Timber, establishing for it a de facto
DeSoto County headquarters within BankPlus’s Southaven, Mississippi branch office. None of the
defendants has settled with the Receivership Estate.

           BankPlus: BankPlus filed a motion to dismiss all claims against it, which I opposed.
BankPlus’s motion and related filings are available at madisontimberreceiver.com. As of this filing
the Court had not issued a ruling.




5
    Doc. 49, Alysson Mills vs. Butler Snow, et al., No. 3:18-cv-00866 (S.D. Miss).
                                                                                                    5
     Case 3:18-cv-00252-CWR-FKB Document 189 Filed 10/25/19 Page 6 of 20




          Gee Gee Patridge: Gee Gee Patridge, Vice President and Chief Operations Officer of
BankPlus, filed a motion to dismiss all claims against it, which I opposed. Gee Gee Patridge’s
motion and related filings are available at madisontimberreceiver.com. As of this filing the Court
had not issued a ruling.

          Martin Murphree: Murphree, a former agent of BankPlus and Mutual of Omaha, filed an
answer to the complaint on May 22, 2019. The answer is available at madisontimberreceiver.com.

          Jason Cowgill: Cowgill, a former manager of BankPlus’s Southaven, Mississippi branch,
filed a motion to dismiss all claims against him, which I opposed. Cowgill’s motion and related
filings are available at madisontimberreceiver.com. As of this filing the Court had not issued a
ruling.

          Mutual of Omaha: Mutual of Omaha filed a motion to dismiss all claims against it, which
I opposed. Mutual of Omaha’s motion and related filings are available at madisontimber
receiver.com. As of this filing the Court had not issued a ruling.

          Stewart Patridge: Stewart Patridge, a former agent of BankPlus and Mutual of Omaha,
filed an answer to the complaint on July 1, 2019. The answer is available at
madisontimberreceiver.com.


          Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364

          The complaint against The UPS Store, Inc.; Herring Ventures, LLC d/b/a The UPS Store;
Austin Elsen; Tammie Elsen; Courtney Herring; Diane Lofton; Chandler Westover; Rawlings &
MacInnis, PA; Tammy Vinson; and Jeannie Chisholm, filed May 23, 2019 and amended June 13,
2019, alleges the defendants are the notaries and their employers on whom Lamar Adams
principally relied to notarize fake timber deeds. None of the defendants has settled with the
Receivership Estate.

          The UPS Store Madison: Herring Ventures, LLC d/b/a The UPS Store; Austin Elsen;
Tammie Elsen; Courtney Herring; Diane Lofton filed answers to the complaint on August 26,
2019. The answers are available at madisontimberreceiver.com.



                                                                                                6
      Case 3:18-cv-00252-CWR-FKB Document 189 Filed 10/25/19 Page 7 of 20




         The UPS Store, Inc.: The UPS Store, Inc. filed a motion to dismiss on August 29, 2019,
and I responded on September 12, 2019. After the Court denied its motion on September 30,
2019,6 The UPS Store, Inc. filed an answer to the complaint on October 15, 2019. The answer is
available at madisontimberreceiver.com.

         Rawlings & MacInnis: Rawlings & MacInnis, PA; Tammy Vinson; and Jeannie Chisholm
filed a motion to dismiss on August 8, 2019, and I responded on September 12, 2019. After the
Court denied their motion on September 30, 2019,7 the Rawlings & MacInnis defendants filed
answers to the complaint on October 11, 2019.                              The answers are available at
madisontimberreceiver.com.

         The Court’s order denying The UPS Store, Inc.’s and Rawlings & MacInnis’s motions to
dismiss stated:

         They contend that the Receiver’s factual allegations are insufficiently detailed, that
         the law bars the Receiver’s claims, and that The UPS Store in particular cannot be
         held liable because the local store that aided and abetted Lamar Adams’ fraudulent
         scheme was merely a franchise.
         The Court respectfully disagrees. The complaint is particularly detailed, Fifth
         Circuit and Mississippi law support the Receiver’s causes of actions, and the UPS
         Store’s affirmative defense is one that will turn on the facts adduced during
         discovery. The better course of action is to begin that discovery, which in a case
         about notarization should not be overly complex, and adjudicate motions for
         summary judgment next year. 8

         Securities & Exchange Commission v. Kelly, et al., No. 3:19-cv-585

         On August 20, 2019, the Securities and Exchange Commission filed a civil complaint
charging Wayne Kelly with the sale of unregistered securities, fraud in the purchase or sale of
securities, fraud in the offer or sale of securities, and the sale of securities while unregistered. The
complaint alleges Kelly provided false information to investors by telling them that their money
would be used by Madison Timber to secure and harvest timber.




6
  Doc. 49, Alysson Mills vs. The UPS Store, Inc., et al., No. 3:19-cv-00364 (S.D. Miss).
7
  Doc. 49, Alysson Mills vs. The UPS Store, Inc., et al., No. 3:19-cv-00364 (S.D. Miss).
8
  Doc. 49, Alysson Mills vs. The UPS Store, Inc., et al., No. 3:19-cv-00364 (S.D. Miss).
                                                                                                      7
     Case 3:18-cv-00252-CWR-FKB Document 189 Filed 10/25/19 Page 8 of 20




        On August 21, 2019, the Securities and Exchange Commission announced a settlement
with Kelly whereby he consents to the entry of a judgment against him. On August 27, 2019, the
Court entered judgment against Kelly permanently enjoining him from further violations of federal
securities laws; disgorging his ill-gotten gains, in an amount to be determined; and ordering that
he pay civil penalties, in an amount to be determined.9


Receiver’s actions in the past 60 days

        Since I filed my last report on August 23, 2019, I have:


        Continued to litigate Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866

        As summarized above, on September 12, 2019, the Court denied Butler Snow’s motion to
dismiss,10 and on October 4, 2019, Butler Snow appealed that ruling to the Fifth Circuit. On
October 1, 2019, the Court denied Baker Donelson’s motion to dismiss and instructed me to file
an amended complaint by November 1, 2019.11


        Continued to litigate Alysson Mills v. BankPlus, et al., No. 3:19-cv-196

        As summarized above, I previously filed oppositions to the motions to dismiss filed by
BankPlus; Gee Gee Patridge, Vice President and Chief Operations Officer of BankPlus; Jason
Cowgill; and Mutual of Omaha. As of this filing the Court had not issued a ruling on those
motions.


        Continued to litigate Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364

        As summarized above, on September 12, 2019 I filed oppositions to the motions to dismiss
filed by The UPS Store, Inc. and Rawlings & MacInnis, and the Court denied the motions on
September 30, 2019.12 All defendants have filed answered and the case is proceeding to discovery.



9
  Docs. 5, 6, Securities and Exchange Commission v. Terry Wayne Kelly and Kelly Management, LLC, No. 3:19-cv-
00585 (S.D. Miss.).
10
   Doc. 48, Alysson Mills vs. Butler Snow, et al., No. 3:18-cv-00866 (S.D. Miss).
11
   Doc. 49, Alysson Mills vs. Butler Snow, et al., No. 3:18-cv-00866 (S.D. Miss).
12
   Doc. 49, Alysson Mills vs. The UPS Store, Inc., et al., No. 3:19-cv-00364 (S.D. Miss).
                                                                                                            8
     Case 3:18-cv-00252-CWR-FKB Document 189 Filed 10/25/19 Page 9 of 20




        Continued to account for “commissions,” gifts, and proceeds

        I continue to account for “commissions” paid by Adams, Madison Timber, or Wayne Kelly
to individuals in exchange for their assistance in recruiting new investors to the Madison Timber
Ponzi scheme. I continue to account for gifts that Adams or Wayne Kelly made with proceeds
from Madison Timber.

        I demanded and obtained the return of $309,000 that Madison Timber paid to Techwood,
LLC between 2012 and 2016.


        Continued to review records

        To date I have received and reviewed records from Wayne Kelly, Mike Billings, Alexander
Seawright, Brent Alexander, Jon Seawright, First Bank of Clarksdale, Southern Bancorp, River
Hills Bank, Community Bank, Jefferson Bank, Trustmark Bank, BankPlus, Southern AgCredit,
Adams’s and Madison Timber’s accounting firm, Butler Snow, Rawlings & MacInnis, Madison
Trust Company (no relation to Madison Timber), Pinnacle Trust, and The UPS Store. I continue
to request and review additional records as necessary to assess the Receivership Estate’s rights
against third parties that had professional relationships with Adams or Madison Timber.

        I issued a subpoena seeking additional records to Southern Bancorp on September 27,
2019.


        Worked with LLCs of which Adams was a member

        Adams was a member of at least six active limited liability companies (“LLCs”) that own
real estate. The Receivership Estate has already resolved its interests in 707, LLC; Delta Farm
Land Investments, LLC; KAPA Breeze, LLC; and Mallard Park, LLC. The status of the remaining
LLCs is as follows:

        MASH Farms, LLC: The LLC’s principal asset is 808+ acres with a hunting camp in
Sunflower County, Mississippi. I have obtained an appraisal of that property and have had
preliminary negotiations with the LLC’s other members regarding the purchase of the
Receivership Estate’s 25% interest. I will consider any offer by any party to purchase the
Receivership Estate’s interest for a price that I believe is fair, and I encourage interested parties to
                                                                                                       9
       Case 3:18-cv-00252-CWR-FKB Document 189 Filed 10/25/19 Page 10 of 20




contact me directly (504-586-5253). If I am unable to sell the Receivership Estate’s interest, I will
evaluate other options available to the Receivership Estate.

           Oxford Springs, LLC: The LLC owes FNBC $4,552,113 on two loans FNBC made to the
LLC, and FNBC holds two deeds of trust over the LLC’s principal asset, 2,300+/- acres of
undeveloped land in Lafayette County, Mississippi. The LLC attempted, but failed, to sell the
property earlier this year.

           As summarized above, on September 25, 2019, the Court approved a settlement13 with
FNBC whereby FNBC will make a cash payment of $4,000,000 to the Receivership Estate and
give the Receivership Estate a 60-day “tender period” within which it may satisfy the LLC’s debt
to FNBC by making a lump sum payment of $4,000,000 to FNBC.

           Relatedly, on October 9, 2019, the Court approved a settlement14 whereby Patrick Sands
agrees to convey to the Receivership Estate his 47.5% interest in the LLC and separately release
the Receivership Estate of any claim by him to amounts due under his outstanding Madison Timber
promissory notes in exchange for the Receiver’s obtaining from FNBC a release of his guarantees
of FNBC’s loans to the LLC.

           The settlement will result in the Receivership Estate’s owning a 100% interest in Oxford
Springs and retaining all the proceeds from the future sale of Oxford Springs’s property.


           Conferred with federal and state authorities

           I have continued to confer with the U.S. Attorney’s Office for the Southern District of
Mississippi, the FBI, the Securities and Exchange Commission, the Mississippi Secretary of
State’s Office, and the Mississippi Department of Banking and Consumer Finance.


           Communicated with investors in Madison Timber

           I have continued to communicate with investors in Madison Timber via phone, letter,
email, and in-person meetings. I speak to investors almost daily.



13
     Doc. 183, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-252 (S.D. Miss.).
14
     Doc. 185, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-252 (S.D. Miss.).
                                                                                                   10
    Case 3:18-cv-00252-CWR-FKB Document 189 Filed 10/25/19 Page 11 of 20




       Interviewed persons with knowledge

       I have continued to interview individuals with first-hand knowledge of matters bearing on
the Receivership Estate.


       Researched legal claims against third parties

       My colleagues and I research legal claims against third parties as new facts are discovered.
I do not publish our assessments here because to do so would be to telegraph our legal strategies
to future defendants.


Receiver’s plan for the next 60 days

       Continue to litigate Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679

       I intend to continue to collect amounts due from Wayne Kelly and Mike Billings under
their respective settlement agreements and promissory notes and to attempt to collect from Bill
McHenry the amounts due under this Court’s judgment against him.


       Continue to litigate Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866

       As noted above, the Court instructed me to file an amended complaint by November 1,
2019. Butler Snow’s appellant’s brief is due December 2, 2019, and I will respond to it.


       Continue to litigate Alysson Mills v. BankPlus, et al., No. 3:19-cv-196

       As noted above, I await the Court’s rulings on the motions to dismiss filed by BankPlus;
Gee Gee Patridge, Vice President and Chief Operations Officer of BankPlus; Jason Cowgill; and
Mutual of Omaha.


       Continue to litigate Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364

       As noted above, the Court instructed the parties to proceed with discovery.




                                                                                                11
    Case 3:18-cv-00252-CWR-FKB Document 189 Filed 10/25/19 Page 12 of 20




           Continue to account for “commissions,” gifts, and proceeds

           As noted above, I continue to account for “commissions” paid by Lamar Adams, Madison
Timber, or Wayne Kelly to individuals in exchange for their assistance in recruiting new investors
to the Madison Timber Ponzi scheme. I continue to account for gifts that Lamar Adams or Wayne
Kelly made with proceeds from Madison Timber.

           Monetize Adams’s interests in the remaining two LLCs

           For the remaining two LLCs, I intend to liquidate the Receivership Estate’s interests to
maximize value to the Receivership Estate:

           Mash Farms, LLC: I want to sell the Receivership Estate’s 25% interest on terms that are
in the best interests of the Receivership Estate. I will continue to consider a sale to the LLC’s other
members but, as noted above, I will consider any offer by any party that I believe is fair, and I
encourage interested parties to contact me directly (504-586-5253). If I am unable to sell the
Receivership Estate’s interest, I will evaluate other options available to the Receivership Estate.

           Oxford Springs, LLC: I expect FNBC’s $4,000,000 cash payment in the next seven days
and intend to exercise the Receivership Estate’s tender right, which will result in the Receivership
Estate owning 100% of the LLC with the ability to sell the LLC’s property free and clear of the
LLC’s debt to FNBC. All proceeds from any future sale will go to the Receivership Estate.


           File additional lawsuits

           I intend to file additional lawsuits against third parties that contributed to the debts of
Madison Timber, and therefore to the debts of the Receivership Estate, so long as new information
justifies it. To protect the Receivership Estate’s position, I am not disclosing publicly third-party
targets.

           I intend to file additional lawsuits to recover commissions, fraudulent transfers, and gifts
as necessary to recover money that belongs to the Receivership Estate.




                                                                                                    12
     Case 3:18-cv-00252-CWR-FKB Document 189 Filed 10/25/19 Page 13 of 20




         Continue communicating with investors

         I intend to continue communicating with investors, through my website, email, phone, and
letters. Investors provide information that is useful to my investigation and, in turn, I hope that I
demystify the receivership process for them.


Receiver’s recommendation

         The Court’s order of appointment invites me to make recommendations in my report. I
previously used my report to recommend that the Court strike certain language from its order of
appointment, and the Court accepted that recommendation. Consistent with that precedent, I
recommend an additional amendment here.

         I respectfully request that the Court amend its order of appointment to permit me to accept
on behalf of the Receivership Estate assignments of any rights or interests that persons or entities
may choose to assign to the Receivership Estate. The order of appointment sets forth my
responsibilities and duties, and they are broad. While I believe the order of appointment already
contemplates that I have the power to do many things, including accept assignments, in the
fulfillment of my duties,15 to avoid doubt I ask that the Court make the order explicit. I have
discussed the matter with the Securities and Exchange Commission, and it does not object to this
discrete amendment. If the Court agrees, the Court may amend its order simply by adding to the
list of “General Powers & Duties of Receiver” in Part I a subpart numbered 19:

         (19) to accept on behalf of the Receivership Estate assignments of rights or interests
         that persons or entities may choose to assign to the Receivership Estate

         A proposed order is attached.




15
  For example, the order of appointment provides that the Receiver shall have the power “to take any action which,
prior to the entry of this Order, could have been taken by the officers, managers, and agents of and relating to the
Receivership Defendants ….” Doc. 33 at p. 8, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-
252 (S.D. Miss.).
                                                                                                                  13
    Case 3:18-cv-00252-CWR-FKB Document 189 Filed 10/25/19 Page 14 of 20




Summary of status of assets

        My end goal is to make an equitable distribution to victims with the money I recover.
Although I continue to recover money from various third parties, the money that I have recovered
to date would not go far. As I have advised, it may take a long time and a lot of work to recover
enough money to make a meaningful distribution, but I am committed to pursuing recoveries for
the benefit of victims so long as the Court allows. The Receivership Estate’s most valuable assets
are the lawsuits it has filed or intends to file.

        The current status of the Receivership Estate’s assets is as follows:


Receivership Estate’s account at Hancock Bank                          current balance $6,606,871.42
Previous balance as of August 23, 2019         $5,965,531.08
Settlement—Mike Billings                        +$325,000.00
Returned proceeds—Techwood, LLC                 +$309,000.00
Interest                                           +$7,352.34
Bank fees                                              -$12.00
Receiver’s counsel’s fees/expenses            n/a this 60 days


Alysson Mills vs. Butler Snow, et al., No. 3:18-cv-866                       litigation ongoing
Lawsuit to hold law firms liable for debts of the Receivership
Estate


Alysson Mills vs. BankPlus, et al., No. 3:19-cv-196                         litigation ongoing
Lawsuit to hold bank and financial services company liable for
debts of the Receivership Estate

Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364                litigation ongoing
Lawsuit to hold notaries liable for debts of the Receivership Estate

Alysson Mills vs. Michael D. Billings, et al., No. 3:18-cv-679              $3,473,320 judgment
Lawsuit to recover $16,000,000 in commissions                                 against McHenry

                                                                               settlements with
                                                                              Billings and Kelly
                                                                                  (see below)

Settlement—Mike Billings                                                     received $325,000
                                                                             plus 5% interest in
                                                                            Oxford Springs, LLC


                                                                                                       14
      Case 3:18-cv-00252-CWR-FKB Document 189 Filed 10/25/19 Page 15 of 20



                                                                  promissory note in the original
                                                                   principal amount of $500,000
                                                                            outstanding


Settlement—Wayne Kelly                                                received $1,384,435.17
                                                                  plus interests in 707, 315 Iona,
                                                                     and KAPA Breeze, LLCs
                                                                 promissory note in the original
                                                                  principal amount of $400,000
                                                                           outstanding


1/4     Mash Farms, LLC                                                  assessing options
        808+ acres with hunting camp in Sunflower County
        Purchased in 2014 for $1,600,000
        Encumbered by Trustmark Bank mortgage
        Owe approximately $900,000


47.5%   Oxford Springs, LLC                                             settlements with
        2,300+/- acres undeveloped land in Lafayette County          FNBC and Patrick Sands
        Purchased in 2015 and 2016 for total of $6,158,000                  approved
        Encumbered by FNBC mortgage
        Owe approximately $4,500,000


1/6     707, LLC                                                   LLC sold principal asset and
        263+ acres recreational land in Holmes County             dissolved; tendered $6,994.09
        Purchased in 2009                                       representing Adams’s, Kelly’s, and
        Encumbered by First Commercial Bank mortgage                  McHenry’s interests to
        Owe approximately $368,000                                   the Receivership Estate


1/3     Delta Farm Land Investments, LLC                           LLC sold principal asset and
        1170+ acres farmland in Oktibbeha County                 dissolved; tendered $323,440.88
        Purchased in 2014 for $2,796,100                         representing Adams’s interest to
        Encumbered by Trustmark Bank mortgage                         the Receivership Estate
        Owe approximately $2,200,000


1/2     KAPA Breeze LLC                                           sold the Receivership Estate’s
        1.5+/- acres mixed-use land on Highway 30A in Florida          interest for $700,000
        Purchased in 2017 for approximately $1,900,000
        Encumbered by Jefferson Bank mortgage
        Owe approximately $1,365,000


1/4     Mallard Park, LLC                                               received $175,000
        1,723 acres with hunting lodge in Humphreys County              for sale of interest
                                                                                                   15
    Case 3:18-cv-00252-CWR-FKB Document 189 Filed 10/25/19 Page 16 of 20



        Purchased in 2016 for $2,593,500
        Encumbered by Southern AgCredit mortgage
        Owe approximately $2,000,000


Hartford Life and Annuity Insurance Co. life insurance policy      surrendered for $167,206.60


Lincoln National Life Insurance Co. life insurance policy            surrendered for $3,678.45


Settlement—Frank Zito                                                   received $100,000,
                                                                          first installment
                                                                   received $100,000, second
                                                                     and final installment,
                                                                         June 12, 2019


Settlement—Ole Miss Athletics Foundation                             received $155,084.50,
                                                                        first installment
                                                                     received $155,084.50,
                                                                  second and final installment,
                                                                         April 17, 2019


Marital Property Settlement—Vickie Lynn Adams                          received $58,247
Lump sum payment includes proceeds from sale of Lexus LX 570
and liquidation of Hartford Life and Annuity Insurance Co. life
insurance policy


Settlement—Adams children                                              received $170,000

Alexander Seawright—UPS’s funds*                                       holding $100,000


2018 King Ranch Ford F150 truck                                         sold for $42,750



Condo in Calton Hill subdivision in Oxford, Mississippi              received $139,919.09
Unencumbered                                                         in proceeds from sale


Settlement—Philippi Freedom Ministries                                 received $16,125


Settlement—Rick Hughes Evangelistic Ministries                        received $43,657.95


                                                                                                  16
    Case 3:18-cv-00252-CWR-FKB Document 189 Filed 10/25/19 Page 17 of 20




2018 King Ranch Ford F150 truck                                                 sold for $42,750


Jewelry                                                                              for sale


House at 134 Saint Andrews Drive, Jackson, Mississippi                        received $350,777.38
Unencumbered                                                                  in proceeds from sale


Settlement—Century Club Charities                                               received $56,944


Settlement—Berachah Church                                                     received $175,904


Settlement—R.B. Thieme, Jr.                                                  received $104,626.50


Settlement—Operation Grace World Missions                                       received $39,325


Returned proceeds—Techwood, LLC                                                received $309,000


Strikethrough indicates asset has been liquidated or proceeds are already accounted for in the Hancock
Bank account balance.

*Holding funds solely as an offset to UPS’s monetary liability for future claims the Receivership Estate
might have against UPS.




                                                                                                           17
   Case 3:18-cv-00252-CWR-FKB Document 189 Filed 10/25/19 Page 18 of 20




Proposed order




                                                                          18
    Case 3:18-cv-00252-CWR-FKB Document 189 Filed 10/25/19 Page 19 of 20




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF MISSISSIPPI
                                 NORTHERN DIVISION

 SECURITIES AND EXCHANGE                              No: 3:18-cv-252
 COMMISSION,
                                                      Carlton W. Reeves, District Judge
                 Plaintiffs,

        v.

 ARTHUR LAMAR ADAMS AND
 MADISON TIMBER PROPERTIES, LLC,

                 Defendants.




                                     PROPOSED ORDER

       On June 22, 2018, this Court appointed Alysson Mills to serve as Receiver of the estates
of Arthur Lamar Adams and Madison Timber Properties (“Receivership Estate”) and instructed
her to file a report of her preliminary findings and recommendations within 60 days. [Doc. 33]

       The Court has received the Receiver’s Report dated October 25, 2019. The Court accepts
the recommendation, to which the Securities & Exchange Commission does not object, that the
Court amend its order of appointment to permit the Receiver to accept on behalf of the
Receivership Estate assignments of any rights or interests that persons or entities may choose to
assign to the Receivership Estate. Accordingly, the Court’s order of appointment [Doc. 33] shall
be amended such that the list of “General Powers & Duties of Receiver” in Part I shall also include
the following:

       “(19) to accept on behalf of the Receivership Estate assignments of rights or interests that
       persons or entities may choose to assign to the Receivership Estate”
Case 3:18-cv-00252-CWR-FKB Document 189 Filed 10/25/19 Page 20 of 20




  The order of appointment [Doc. 33] shall in all other respects remain the same.




  DATED: _____________                 ________________________________
                                       Honorable Carlton W. Reeves
                                       United States District Judge




                                                                                    2
